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                                                           UNITED STATES DISTRICT COURT
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                                                         CENTRAL DISTRICT OF CALIFORNIA
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                                     JOEL GROCH,                                   CASE NO: 2:18-cv-06614 CBM (Ex)
                                9
                                                   Plaintiff,                      JUDGMENT IN FAVOR OF
                               10                                                  PLAINTIFF [JS-6]
                                           vs.
                               11
                                     DEARBORN NATIONAL LIFE
                               12    INSURANCE COMPANY;
                                     ENTERTAINMENT INDUSTRY
Northridge, California 91324
 KANTOR & KANTOR LLP




                               13    FLEX PLAN,
  19839 Nordhoff Street

       (818) 886 2525




                               14                  Defendants.
                               15
                               16
                               17         Pursuant to the Court’s Findings of Fact and Conclusions of Law (Docket
                               18   No. 53):
                               19         IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that plaintiff
                               20   Joel Groch (“Plaintiff”) shall have Judgment in his favor and against defendant
                               21   Dearborn National Life Insurance Company (“Dearborn”) and Entertainment
                               22   Industry Flex Plan (“the Plan”) on his claim for long term disability benefits.
                               23         IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that
                               24   Defendants shall pay long term disability benefits claimed due and owing by
                               25   Plaintiff for the period of February 28, 2017 to June 19, 2020, in the total amount of
                               26   $200,000.00. Plaintiff is further entitled to an award of pre-judgment interest in the
                               27   amount of $2,568.20. The total amount to be paid pursuant to this Judgment is
                               28   $202,568.20.
                                                                               1
                                                         [PROPOSED] JUDGMENT IN FAVOR OF PLAINTIFF
                               Case 2:18-cv-06614-CBM-E Document 57 Filed 11/09/20 Page 2 of 2 Page ID #:10017



                                1         It is FURTHER ORDERED, ADJUDGED, and DECREED that Plaintiff may
                                2   file a Motion for Attorneys’ Fees and Costs within thirty (30) days of the entry of
                                3   this Judgment.
                                4
                                5   Dated: November 9, 2020                             _________________________
                                                                                        Hon. Consuelo B. Marshall
                                6                                                       U.S. District Judge
                                7
                                    Submitted by:
                                8
                                    /s/ Corinne Chandler
                                9   Corinne Chandler
                                    Attorneys for Plaintiff
                               10   Joel Groch
                               11
                               12   Approved as to Form:
Northridge, California 91324
 KANTOR & KANTOR LLP




                               13   /s/ Thomas B. Orlando
  19839 Nordhoff Street




                                    Thomas Orlando
       (818) 886 2525




                               14   Attorneys for defendants
                                    Dearborn National Life Insurance Company and
                               15   The Entertainment Industry Flex Plan
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                                                       [PROPOSED] JUDGMENT IN FAVOR OF PLAINTIFF
